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Andrew G. Deiss (7184)                        Qusair Mohamedbhai (Pro Hac Vice)
Corey D. Riley (16935)                        2701 Lawrence Street, Suite 100
Deiss Law PC                                  Denver, Colorado 80205
10 West 100 South, Suite 425                  (303) 578-4400 (p)
Salt Lake City, Utah 84101                    (303) 578-4401 (f)
(801) 433-0226                                qm@rmlawyers.com
adeiss@deisslaw.com
criley@deisslaw.com

Attorneys for Plaintiffs

                       UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH


ESTATE OF PATRICK HARMON SR.;                      NOTICE OF APPEAL
PATRICK HARMON II, as Personal
Representative of the Estate of Patrick       Case No. 19-cv-00553-HCN-CMR
Harmon Sr., and heir of Patrick Harmon
Sr.; and TASHA SMITH, as heir of                 Judge Howard C. Nielson, Jr.
Patrick Harmon Sr.,
             Plaintiffs,                      Magistrate Judge Cecilia M. Romero
vs.

SALT LAKE CITY, a municipality; and
OFFICER CLINTON FOX, in his
individual capacity,

              Defendants.




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      Pursuant to Rule 4 of the Federal Rules of Appellate Procedure, Plaintiffs Estate of

Patrick Harmon Sr., Patrick Harmon II, and Tasha Smith hereby provide notice of appeal

of the above captioned matter.

          1. The parties taking the appeal are all Plaintiffs in the above-captioned

             matter.

          2. The judgment, order, or part thereof being appealed is the August 18, 2023

             Judgment adjudicating all of Plaintiffs’ remaining federal claims and

             remanding all of Plaintiffs’ state claims to the Utah Third District Court,

             Salt Lake County.

          3. The court from which the appeal is taken is the United States District Court

             for the District of Utah, Judge Howard C. Nielson, Jr. presiding.

          4. The court to which the appeal is taken is the United States Court of Appeals

             for the Tenth Circuit.

      Dated: September 15, 2023,         DEISS LAW PC

                                         s/ Corey D. Riley
                                         Andrew G. Deiss
                                         Corey D. Riley
                                         10 West 100 South, Suite 700
                                         Salt Lake City, Utah 84101
                                         Telephone: (801) 433-0226
                                         adeiss@deisslaw.com
                                         criley@deisslaw.com




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                                  RATHOD | MOHAMEDBHAI LLC

                                  Qusair Mohamedbhai (pro hac vice)
                                  2701 Lawrence Street, Suite 100
                                  Denver, Colorado 80205
                                  (303) 578-4400 (p)
                                  (303) 578-4401 (f)




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